                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI


H&R BLOCK EASTERN                               )
ENTERPRISES, INC.                               )
HRB ROYALTY, INC.,                              )
H&R BLOCK ENTERPRISES, INC.                     )
AND H&R BLOCK AND ASSOC., L.P.                  )
                                                )
                 Plaintiffs,                    )    Case No. 06-0039-CV-W-SOW
                                                )
                 v.                             )
                                                )
INTUIT, INC.                                    )
           Defendant.                           )



                                         COMPLAINT

       Plaintiffs H&R Block Eastern Enterprises, Inc., HRB Royalty, Inc., H&R Block

Enterprises, Inc. and H&R Block and Associates, L.P (“Plaintiffs”) bring this cause of action

against defendant Intuit, Inc. (“Defendant”) based on its false and misleading advertising, unfair

competition and infringement of Plaintiffs’ legally-protected trademark. Plaintiffs seek

injunctive, compensatory and punitive relief.

                                         THE PARTIES

       1.    Plaintiff H&R Block Eastern Enterprises, Inc. (“Block Eastern”) is a Missouri

corporation. Block Eastern’s principal office is located at 4400 Main Street, Kansas City, MO

64111. Block Eastern is a subsidiary of H&R Block, Inc. and is part of a family of companies

that collectively make up the largest provider of individual income tax preparation services in the

United States.

       2.    Plaintiff HRB Royalty, Inc. (“HRB”) is a Delaware corporation. Its principal office

is located at Suite 101, TK House, Bayside Executive Park, West Bay Street and Blake Road, P.




         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 1 of 12
O. Box N-8220, Nassau, Bahamas. HRB is a wholly-owned indirect subsidiary of H&R Block,

Inc. and is part of a family of companies (“H&R Block”) that collectively make up the largest

provider of individual income tax preparation services in the United States.

       3.    Plaintiff H&R Block Enterprises, Inc. (“Block Enterprises”) is a Missouri

corporation. Block Enterprises is a subsidiary of H&R Block, Inc. and is part of a family of

companies that collectively make up the largest provider of individual income tax preparation

services in the United States.

       4.    Plaintiff H&R Block and Associates, L.P. (“Block and Associates”) is a Delaware

corporation. Block and Associates is a subsidiary of H&R Block, Inc. and is part of a family of

companies that collectively make up the largest provider of individual income tax preparation

services in the United States.

       5.    Defendant Intuit, Inc. (“Defendant”) is a corporation organized under the laws of

the State of Delaware. Defendant’s principal office is located at 2632 Marine Way, Mountain

View, California 94043. Defendant is registered to do business as a foreign corporation in

Missouri, with its registered agent listed as CSC-Lawyers Incorporating Service Company, 221

Bolivar Street, Jefferson City, MO 65101. Defendant is therefore a resident defendant within this

District, and, in addition to conducting its advertising campaign described herein in Missouri,

Defendant, on information and belief, transacts substantial business, enters into contracts in the

state of Missouri, and sells its TurboTax product (which is the subject of the marketing campaign

here at issue) in Missouri and to Missouri consumers.




                                     2
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 2 of 12
                                        INTRODUCTION

       6.    The H&R Block, Inc. family of companies has been the market leader in tax

preparation services for decades. Through the tireless efforts of H&R Block and its employees

and through the development of extensive marketing plans, the “H&R Block” name (the “Mark”)

has become a strong, widely-known and highly-regarded trademark that symbolizes the H&R

Block companies, their goods, services, excellent reputation and substantial goodwill.

       7.    H&R Block has spent more than 50 years developing goodwill associated with its

Mark. To protect those interests, H&R Block has federally registered the Mark and variations

upon the Mark with the U.S. Patent and Trademark Office. See, e.g., U.S. Patent and Trademark

Office (“PTO”) Registration No. 2533014. (Attached as Exhibit A are true and correct copies of

printouts from the PTO’s Trademark Electronic Search System reflecting (1) 11 live federally-

registered marks owned by H&R Block that include the Mark or variations thereon and (2)

detailed information regarding Registration No. 2533014).

       8.    H&R Block offers a variety of goods and services in connection with its Mark,

including, without limitation, in-store and online tax preparation services, as well as tax

preparation software.

       9.    Defendant Intuit, a competitor in the tax return preparation industry, is currently

using the Mark in a national advertising campaign to promote its TurboTax tax preparation

software product (the “Campaign”). Defendant is strategically running this Campaign as the tax

season kicks off, which also happens to be the busiest time of the year for tax preparers.




                                     3
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 3 of 12
        10.   Defendant is presently broadcasting its Campaign in Missouri among other states.

Defendant sells their TurboTax software in Missouri among other states. See Affidavit of Wade

A. Thomas, attached hereto as Exhibit B.

        11.   Defendant’s Campaign is deceptive, false and/or misleading and its use of the Mark

in the Campaign is unauthorized, false and is likely to confuse, deceive and/or mislead

consumers.

        12.   Defendant’s actions constitute violations of the Lanham Act and Missouri common

law. Plaintiffs come to this Court for appropriate legal and equitable relief prohibiting

Defendant from using and benefiting from its false, misleading and deceptive marketing

Campaign and its unauthorized and improper use of Plaintiffs’ legally protected trademark.

                                JURISDICTION AND VENUE

        13.   This is an action for violation of rights granted under the Federal Trademark Act of

1946, 15 U.S.C. §§ 1051 et seq. Specifically, this action is based on Sections 32(1) and 43(a) of

the Lanham Act, 15 U.S.C. §§ 1114(1)(a) and 1125(a), and the common law of Missouri. This

Court has jurisdiction over the subject matter of this action pursuant to Section 39 of the Lanham

Act, 15 U.S.C. §§ 1116 and 1121, and 28 U.S.C. §§1331 and 1338, for the claims arising under

the Lanham Act. Supplemental jurisdiction over the state law claims exists under 28 USC §

1367.

        14.   Venue is proper in this district under 28 USC § 1391.

                       ALLEGATIONS COMMON TO ALL COUNTS

A.      H&R Block Has Built Goodwill and Name Recognition During the Past 50 Years

        15.   H&R Block was founded in the 1950’s and, since then, has successfully grown to

become the world’s largest tax services company.




                                     4
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 4 of 12
       16.   Through the hard work of its employees and its franchisees, H&R Block has

established a strong reputation for itself in the industry. These efforts have resulted in the

accumulation of valuable goodwill and name recognition.

       17.   H&R Block’s extensive marketing plans have built on its employees’ and

franchisees’ efforts to further increase the consuming public’s awareness of and respect for H&R

Block and its services. H&R Block has invested significant assets in developing its brand

identification, including through national advertising campaigns, community outreach programs

and other means.

       18.   H&R Block uses the Mark in interstate commerce to identify its products and

services and to distinguish them from those offered by others. H&R Block’s advertisements,

which prominently display the mark, appear in print media, on radio, on television, and on the

internet. H&R Block also uses the mark on other public materials, such as letterhead and forms.

For example, one of the many protected variations on the Mark is the famous green square logo

that appears on thousands of store- and office-fronts nationwide:




       19.   H&R Block’s Mark is arbitrary and fanciful in that it does not describe or suggest

anything about the product, and has widespread marketplace recognition as a designation of the

H&R Block company and services.

       20.   The Mark is a strong, distinctive and famous trademark.

       21.   Furthermore, the Mark is valid, protectable and incontestable, and has been in

continuous use for more than five consecutive years subsequent to its registration.




                                     5
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 5 of 12
A.     Defendant’s Misleading Campaign and Misuse of H&R Block’s Mark.

       22. Defendant is using the H&R Block Mark in interstate commerce in its nationwide

Campaign to market its TurboTax products.

       23. Defendant’s use of the Mark is not authorized and Defendant does not have the

consent of Plaintiffs to use the Mark.

       24. Defendant is misusing Block’s protected Mark in a nationwide campaign that

misleads the consuming public regarding the nature and qualities of the parties’ products and

services. A true and correct copy of a storyboard depiction of Defendant’s offending television

advertisements is attached hereto as Exhibit 1 to the Declaration of Stephen Kolozsvary (which

is attached as Exhibit C hereto). This television advertisement has been shown on national

television, including on KSHB in Kansas City, Missouri, on NBC on January 9, 2006 during the

“Today” show. See Declaration of Stephen Kolozsvary, attached hereto as Exhibit C, at ¶ 7.

       25. As shown below, Defendant’s nationwide television advertisement states in part

that: “more returns were prepared with Turbo Tax last year than at all the H&R Block stores

combined.”




       26.   On information and belief this statement and other similar statements are literally

false, deceptive and misleading and Defendant has no reasonable basis for making these claims.

Defendant’s misleading Campaign implies, inter alia, that more returns were prepared with its


                                     6
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 6 of 12
products than at the H&R Block stores because it offers a product whose services are superior to

– and chosen more frequently than – H&R Block’s services. The facts do not support such a

claim.

         27.   For example, Defendant’s “First-Quarter Fiscal 2006 Conference Call Remarks,”

posted on its website states, “last year, Turbo Tax, with 21 million returns prepared, completed

more tax returns than all of H&R Block’s stores.” (A true and correct copy of the printout from

Defendant’s website is attached hereto as Exhibit D).

         28.   At the same time, H&R Block stores prepared and filed over 24.9 million returns at

its stores. An additional 1.2 million returns were prepared by H&R Block stores and paper filed.

When combined, these numbers demonstrate that H&R Block prepared more than 26 million

returns. Moreover, these 26 million returns do not include the millions of additional returns

prepared by H&R Block through means other than its stores (such as online services). On

information and belief, the number of returns prepared by H&R Block far surpasses the number

of returns prepared with TurboTax in 2005.

         29.   In addition, as shown below, Defendant’s nationwide Campaign further misleads

consumers and misstates the truth by advertising that: “Turbo Tax asks me questions just like

H&R Block does.”




                                      7
          Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 7 of 12
       30.   This language is false, deceptive and misleading to consumers as it implies that pre-

programmed prompts from the TurboTax computer program are “just like” the interaction with

an H&R Block tax professional, each of whom have more than sixty hours of tax preparation

training and who can interact with and respond to fact specific questions from each consumer.

The personalized customer attention that H&R Block customers enjoy is simply not duplicated

by TurboTax’s software.

       31.   Defendant is also running misleading radio advertisements that perpetuate and

reinforce the misrepresentations from the television advertisement regarding the number of

returns prepared by each company. A true and correct transcript of Defendant’s offending radio

advertisement is attached hereto as Exhibit 2 to the Declation of Stephen Kolozsvary (Exhibit C

hereto); see also Exhibit C at ¶ 13.

       32.   From January 9-12, 2006, Defendant’s offending radio advertisements ran

approximately 42 times in the Kansas City and St. Louis markets alone. Exhibit C, ¶ 12. This

radio advertisement was part of Defendant’s national radio advertising campaign that ran in more

than twenty-five other markets across the country. Exhibit C, ¶ 12.

       33.   Defendant has no need to use the Mark to describe their services and no right to

make the unauthorized and deceptive uses of the Mark contained in their Campaign.

       34.   In an effort to resolve this matter prior to the filing of this complaint, H&R Block

sent Defendant a cease and desist letter, to no avail. A true and correct copy of this letter is

attached hereto as Exhibit E.

       35.   Accordingly, the present lawsuit followed.




                                     8
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 8 of 12
                  COUNT I Violation of Section of 43(a) of the Lanham Act
                                   [By All Plaintiffs]

        36.   Plaintiffs incorporate herein by reference the above allegations of this verified

complaint as if set forth fully herein.

        37.   Defendant is engaging in unfair competition by promoting their TurboTax product

using the H&R Block Mark, as well as by making false, misleading and deceptive

representations of fact in their advertising Campaign.

        38. Defendant is using the Mark and running the Campaign in commerce in commercial

advertising to promote their TurboTax product.

        39.   Defendant’s Campaign misrepresents the nature, characteristics and qualities of

Defendant’s and Plaintiffs’ goods, services, and/or commercial activities

        40.   The above described acts and practices constitute violations of Section 43(a) of the

Lanham Act (15 U.S.C. § 1125(a)).

        41. Plaintiffs have been or are likely to be injured as result of Defendant’s conduct,

either by direct diversion of sales from itself to Defendant or by loss of goodwill associated with

its Mark and services.

        42.   Unless Defendant is enjoined by this Court from continuing to misappropriate

Plaintiffs’ Mark and to make false, misleading and deceptive representations of fact in their

advertising Campaign, the consuming public will continue to be confused and Plaintiffs will

suffer a loss of consumer confidence, sales, revenue and goodwill, to the irreparable injury of

Plaintiffs.

        43.   Plaintiffs have no adequate remedy at law that would fully compensate them for

injuries caused and continuing to be caused by Defendant’s conduct as described herein.



                                      9
          Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 9 of 12
                   COUNT II Violation of Section 32(1) of the Lanham Act
                                   [By Plaintiff HRB]

        44.   Plaintiffs incorporate herein by reference the above allegations of this verified

complaint as if set forth fully herein.

        45.   The Mark is a federally-registered mark of HRB.

        46.   Defendant is presently using the Mark in commerce in connection with the sale,

offering for sale, distribution, or advertising of tax preparation software.

        47.   Plaintiffs have not consented to Defendant’s use of the Mark

        48.   Defendant’s use of the Mark is likely to cause confusion, or to cause mistake, or to

deceive.

        49.   The above described acts and practices constitute violations of Section 32(1)(a) of

the Lanham Act (15 U.S.C. § 1114).

        50.   Plaintiff has been or is likely to be injured as result of the infringement of its

protected Mark, either by direct diversion of sales from itself to Defendant or by loss of goodwill

associated with its Mark.

        51. Unless Defendant is enjoined by this Court from continuing to misappropriate

Plaintiff’s trademark and to make false, misleading and deceptive representations of fact in their

advertising Campaign, the consuming public will continue to be confused and Plaintiff will

suffer a loss of consumer confidence, sales, revenue and goodwill, to the irreparable injury of

Plaintiff.

        52. Plaintiff has no adequate remedy at law that would fully compensate it for injuries

caused and continuing to be caused by Defendant’s conduct as described herein.




                                       10
           Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 10 of 12
                       COUNT III -Violations of Missouri Common Law
                                     [By All Plaintiffs]

       53.   Plaintiffs incorporate herein by reference the above allegations of this verified

complaint as if set forth fully herein.

       54.   The above described acts and practices constitute actionable unfair competition

under Missouri common law.


       WHEREFORE, Plaintiffs respectfully request that the Court:

               (a)     issue a preliminary and permanent injunction ordering that Defendant, its

       agents, servants, employees, representatives, subsidiaries, franchisees and affiliates

       refrain from directly or indirectly using in commerce or causing to be published or

       otherwise disseminated any promotional or advertising materials containing any use of

       “H&R Block” in a manner that is likely to cause confusion, or to cause mistake, or to

       deceive;

               (b)     issue a preliminary and permanent injunction ordering that Defendant

       cease and desist, and cause others to cease and desist, from publishing, broadcasting or

       otherwise disseminating Defendant’s Campaign or any portion thereof that is false,

       misleading, deceptive or otherwise makes unauthorized use of H&R Block’s intellectual

       property;

               (c)     issue a preliminary and permanent injunction ordering Defendant to issue

       and pay for appropriate corrective advertisements retracting the misleading marketing or

       promotional materials identified and to be identified, reasonably designed to reach all

       people to whom its false and misleading Campaign was disseminated;

               (d)     award Plaintiff:


                                     11
         Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 11 of 12
              (i)     Defendant’s profits, gains and advantages derived from

       Defendant’s unlawful conduct;

              (ii)    all damages sustained by Plaintiffs by reason of Defendant’s

       unlawful conduct, including all expenditures required to correct the false,

       misleading, deceptive and unfair statements in Defendant’s Campaign and

       misappropriation of Plaintiff’s trademark;

              (iii)   additional compensation in such sum as the court shall find to be

       just pursuant to 15 U.S.C. § 1117;

              (iv)    trebled damages pursuant to 15 U.S.C. § 1117

              (v)     exemplary and punitive damages as the Court finds appropriate to

       punish Defendant’s misconduct and deter any future willful conduct; and

              (vi)    interest on the foregoing sums;

       (e)    award Plaintiffs’ attorneys’ fees and costs and disbursements of this

action; and

       (f)    grant such other and further relief as the Court deems just and proper.

                                     Respectfully submitted,

                                     BERKOWITZ OLIVER WILLIAMS
                                     SHAW & EISENBRANDT LLP


                                     By:       /s/ Anthony J. Durone
                                            David F. Oliver          MO Bar #28065
                                            Anthony J. Durone        MO Bar #43872
                                            Stacey R. Gilman         MO Bar #55690
                                            Nick J. Kurt             MO Bar #52216
                                            Two Emanuel Cleaver II Boulevard, #500
                                            Kansas City, Missouri 64112
                                            Telephone:               (816) 561-7007
                                            Facsimile:               (816) 561-1888
                                            ATTORNEYS FOR PLAINTIFFS


                             12
 Case 4:06-cv-00039-SOW Document 1 Filed 01/13/06 Page 12 of 12
